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                        Exhibit A
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                                              Toshiba America, Inc., Toshiba America
                                         10
                                              Information Systems, Inc., and Toshiba America
                                         11   Electronic Components, Inc.
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                                                                     UNITED STATES DISTRICT COURT
              Washington, DC 20005
White & Case LLP




                                         13                         NORTHERN DISTRICT OF CALIFORNIA
                                                                       (SAN FRANCISCO DIVISION)
                                         14
                                         15
                                              IN RE: CATHODE RAY TUBE (CRT)                              Case No. 07-5944 SC
                                         16
                                              ANTITRUST LITIGATION                                         MDL No. 1917
                                         17
                                         18
                                              This Document Relates to
                                         19   Case No. 13-cv-1173-SC (N.D. Cal.)
                                         20
                                              SHARP ELECTRONICS CORPORATION;                   THE TOSHIBA DEFENDANTS’
                                         21   SHARP ELECTRONICS MANUFACTURING                  AMENDED NOTICE OF MOTION
                                              COMPANY OF AMERICA, INC.,                        AND MOTION TO DISMISS
                                         22
                                                                                               SHARP’S COMPLAINT
                                         23                        Plaintiffs,
                                                                                               ORAL ARGUMENT REQUESTED
                                         24
                                                   v.
                                         25                                                    Date:        January 24, 2014
                                              HITACHI, LTD., et al.,                           Time:        10:00 a.m.
                                         26
                                                                                               Before:      Hon. Samuel Conti
                                         27                        Defendants.
                                         28


                                                             THE TOSHIBA DEFENDANTS’ AMENDED NOTICE OF MOTION
                                                                  AND MOTION TO DISMISS SHARP’S COMPLAINT
                                                                              Case No. 07-5944 SC
                                                                                MDL No. 1917
                                                Case 4:07-cv-05944-JST Document 2249-1 Filed 12/09/13 Page 3 of 4




                                          1                     AMENDED NOTICE OF MOTION AND MOTION
                                          2   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                          3         PLEASE TAKE NOTICE that on January 24, 2014, at 10:00 a.m., or as soon
                                          4   thereafter as the matter may be heard, in Courtroom 1, 17th Floor, 450 Golden Gate Avenue,
                                          5   San Francisco, California, before the Honorable Samuel Conti, Toshiba Corporation
                                          6   (“TSB”), Toshiba America, Inc. (“TAI”), Toshiba America Information Systems, Inc.
                                          7   (“TAIS”), and Toshiba America Electronic Components, Inc. (“TAEC”) (collectively, the
                                          8   “Toshiba Defendants”) will and hereby do move the Court for an order dismissing the
                                          9   Complaint of Sharp Electronics Corporation and Sharp Electronics Manufacturing Company
                                         10   of America, Inc. (“collectively, the “Plaintiffs” or “Sharp”) (“Complaint”) as against the
                                         11   Toshiba Defendants pursuant to the doctrine of forum non conveniens and Rule 12(b)(6) of
                                         12   the Federal Rules of Civil Procedure. Sharp’s Complaint must be dismissed against the
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                                         13   Toshiba Defendants because its claims are based on purchases that are governed by a
                                         14   contract containing a mandatory forum selection clause that selects the Osaka District Court,
                                         15   in Osaka, Japan, as the forum to resolve disputes arising out of the contract.        In the
                                         16   alternative, Sharp’s federal and New Jersey state law claims for damages for its alleged
                                         17   purchases of products that contain CRTs (“CRT Products”) must be dismissed against the
                                         18   Toshiba Defendants because Sharp has failed to allege facts sufficient to support standing
                                         19   under the “ownership or control” exception to Illinois Brick’s bar on indirect purchaser
                                         20   actions.
                                         21         This Amended Motion is based upon this Amended Notice of Motion, the
                                         22   Memorandum of Points and Authorities filed by the Toshiba Defendants on October 7,
                                         23   2013, the Reply Memorandum filed by the Toshiba Defendants on November 20, 2013, the
                                         24   complete files and records in this action, oral argument of counsel, and such other and
                                         25   further matters as this Court may consider.
                                         26
                                         27
                                         28
                                                              THE TOSHIBA DEFENDANTS’ AMENDED NOTICE OF MOTION
                                                                   AND MOTION TO DISMISS SHARP’S COMPLAINT
                                                                               Case No. 07-5944 SC
                                                                                 MDL No. 1917
                                               Case 4:07-cv-05944-JST Document 2249-1 Filed 12/09/13 Page 4 of 4




                                          1                                            Respectfully submitted,
                                          2   Dated: December 9, 2013
                                          3
                                                                                   By: /s/ Lucius B. Lau
                                          4
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                                         13                                            Toshiba America Information Systems,
                                                                                       Inc., and Toshiba America Electronic
                                         14
                                                                                       Components, Inc.
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                                                            THE TOSHIBA DEFENDANTS’ AMENDED NOTICE OF MOTION
                                                                 AND MOTION TO DISMISS SHARP’S COMPLAINT
                                                                             Case No. 07-5944 SC
                                                                               MDL No. 1917
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